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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA, (S4) 23-Cr-490 (SHS)
-V- : ORDER
ROBERT MENENDEZ, NADINE MENENDEZ,
WAEL HANA, and FRED DAIBES,
Defendants.
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SIDNEY H. STEIN, U.S. District Judge.
A conference having been held today, with counsel for all parties present,
IT 1S HEREBY ORDERED that:

1, Any motions regarding the (S4) Indictment are due by March 25, the responses are
due by April 1, 2024;

2, The defendants’ request to adjourn the trial is denied [Doc. No. 240];

3. Any motions in Jimine, proposed jury charges, and proposed voir dire, are due on
or before April 5, 2024;

4, Responses to any motions in limine are due one week after the motion is filed;

5. The last day for the government to produce 3500 material, its witness list and its
exhibit list is April 15, 2024;

6. The final pretrial conference shall take place on April 30, 2024, at 10:00 a.m.;
7, The trial of this matter will commence on May 6, 2024, at 9:30 a.m.; and

8. At the request of the government, and with the consent of each defendant, the
Court excludes time from calculation under the Speedy Trial Act from today until May 6, 2024,
The Court finds that the ends of justice served by this continuance outweigh the best interests of
the public and the defendants in a speedy trial pursuant to 18 U.S.C. § 3161(h)(7)(A).

Dated: New York, New York

March 11, 2024
SO ORDERED:

wf Sidney H. Stein, U.S.D.J.

